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 7                           UNITED STATES DISTRICT COURT
 8                                DISTRICT OF NEVADA
 9                                          ***
                                            )
10   UNITED STATES OF AMERICA,              )
                                            )
11                  Plaintiff,              )
                                            )             2:12-CR-00063-PMP-CWH
12   v.                                     )
                                            )
13   ROSS HACK, MELISSA HACK, and           )
     LELAND JONES,                          )             ORDER
14                                          )
                    Defendants.             )
15                                          )
16            IT IS ORDERED that Defendant Leland Jones’s Motion to Join Defendant Ross
17   Hack’s Objections to Report and Recommendation (Doc. #274) is hereby GRANTED.
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19   DATED: June 23, 2014
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20                                           PHILIP M. PRO
                                             United States District Judge
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